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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                          CASE NO. 4:17-CR-00293-BSM

JAMES SCOTT OLIVER                                                          DEFENDANT

                                         ORDER

       Laura L. Calhoun’s motion to withdraw as counsel for James Scott Oliver [Doc. No.

2191] is granted. CJA panel member Efrem Neely is appointed to represent Oliver during

his appeal. See Local Rule for the Eastern and Western Districts of Arkansas 83.7. Neely

has 21 days to ask to withdraw.

       The clerk is directed to send Neely a copy of this order and local rule 83.7. Counsel

may access the file from CM/ECF. If counsel is unable to obtain a copy of the file from

CM/ECF, he should contact court staff, and a copy of the file, or any portion requested, will

be provided via compact disc free of charge.

       IT IS SO ORDERED this 20th day of August, 2021.



                                                    UNITED STATES DISTRICT JUDGE
